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                         United States District Court
                          Northern District of Texas
                            Fort Worth Division
 STATE OF TEXAS,
    Plaintiff,
 v.                                                Case 4:21-cv-00579-P
 JOSEPH R. BIDEN, JR., et al.;
    Defendants.

                     [Proposed] Preliminary Injunction
 A. Findings.
    Texas has demonstrated that it has a substantial chance of prevailing on
 the merits of its claims; that it is experiencing, and is immediately threatened
 with, irreparable harm as a result of the defendants’ conduct; and that the
 public interest and the balance of the equities favor an injunction.
 B. Conduct enjoined.
    Based on these findings, the Defendants are:
    •   Enjoined from exempting unaccompanied alien children from the Title
        42 procedures solely on their status as unaccompanied children.
    •   Enjoined from exempting from the Title 42 procedures to those family-
        unit members who meet the definition of “covered aliens” given in the
        October Order.
    •   Enjoined to detain aliens arriving on the southwest border who meet the
        standards set forth in 8 U.S.C. § 1182(a)(1) for a period sufficient to
        determine, in accordance with the requirements of 8 U.S.C. § 1222 and
        with the guidance of the Department of Health and Human Services,
        that those aliens are not carriers of the SARS-CoV-2 virus.
 C. Duration.
    This injunction is in effect until further order of the Court.
 D. Waiver of bond.
    Because there is no likelihood that the defendants will be harmed if this
 injunction is erroneous, the requirement to post a bond is dispensed with.
 E. Future proceedings.
    The parties will confer and, by                          , file a report of that
 conference proposing a schedule for the final resolution of this case.
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    Signed on                       , 2021, at Fort Worth, Texas.




                                    Mark T. Pittman
                                    United States District Judge




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